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IN THE UNITED STATES DISTRICT COURT UNITED STATES DISTRICT COURT
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FOR THEDISTRICT OF NEW MEXICO DEC 5 2029 i

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UNITED STATES OF AMERICA, .
MITCHELL R. ELFERS

Plaintiff, CLERK
vs. No. CR 19-3113 JB
ROBERT PADILLA, et al.,

Defendants.

ORDER TO CONTINUE TRIAL
THIS MATTER is before the Court on the Joint Motion to Continue the November 29,
2022 trial setting. There being good cause shown by the Parties, the Courts finds that the motion
is well-taken and should be granted.
IT IS HEREBY ORDERED that the jury trial in this matter currently scheduled for

November 29, 2022 is continued and will be rescheduled for //lAavenr F, Leg at FICO An,

 

(trailing docket).

Additionally, the Court finds that a continuance is necessary to continue and finalize plea
negotiations with the government. If a resolution is not reached, then additional time will be
necessary to review and summarize voluminous discovery, prepare pretrial motions, motions in
limine, conduct case investigation, and prepare for trial. Regarding Defendant Padilla, a
continuance is also requested to allow Defendant Padilla to consult with and review discovery with
Mr. Padilla’s separate counsel in Case No. 22-CR-0634 to determine how any potential plea in the
above-captioned case would adversely impact Mr. Padiila’s case in Case No. 22-CR-0634.

The court finds that the ends of justice will be served by granting this extension of time in

which to file motions and a continuance of the trial. See United States v. Hernandez-Mejia, 406

 
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Fed. App'x. 330, 338 (10" Cir, 2011) (“The Speedy Trial Act was intended not only to protect the

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interests of defendants but was also ‘designed with the public interest firmly in mind.’”) (quoting

United States v. Toombs, 574 F.3d 1262, 1273 (10" Cir. 2009). Additional time will allow the
defendants to further review discovery, conduct an investigation into the charges in this case, to
prepare and file pretrial motions, and to adequately prepare for trial. Additionally, a continuance
will provide the parties time to discuss a possible negotiated resolution of this matter. Such a
negotiated resolution would conserve judicial and prosecutorial resources and could also
materially benefit the defendants by providing them access to a more favorable resolution of this
matter. This motion is not predicated upon the congestion of the Court's docket. See United States
v. Hernandez-Mejia, 406 Fed, App'x. 330, 338 (10" Cir. 201D ("The speedy Trial Act was intended
not only to protect the interests of defendants, but was also ‘designed with the public interest in

mind.’”) (quoting United States v. Toombs, 574 F.3d 1262, 1273 (10" Cir, 2009).

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"ey STATES DISTRI?T JUDGE

 

 

 

 

After weighing the best interest of the public and of the Defendant with the ends of justice, the
Court finds that granting a continuance will strike a proper balance between the ends of justice
and the best interests of the public and of the Defendant for the reasons stated in the motion
requesting a continuance, filed November 18, 2022 (Doc. 733). Specifically, the Defendants’
need to review and summarize voluminous discovery and complete an investigation, continue
ongoing plea negotiations, and if a resolution is not reached, time to litigate pending pretrial
motions, enable counsel for the Defendants to discuss and analyze a related case with counsel
in that case, and prepare for trial, outweighs the Defendants’ and the public's interest in a
speedy trial. See 18 U.S.C. Section 3161(h)(7). The pretrial motion deadline is

Vigvth. . 2028 . The Court will set the trial for Wi Aves. 2¥ bt GLOO Re,

(trailing docket). This 12.0 yay continuance is sufficient without being greater than necessary,

 

for the defendant to com e tasks set forth in the motion to continue.

 

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